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                       UNITED STATES DISTRICT COURT
                                             for the
                                   Western District of Kentucky
                                       Louisville Division

 Ronald Chad Allen                        )
       Plaintiff                          )
                                          )
 v.                                       )            Case No.       3:17-cv-00211-DJH
                                          )
 Equifax Information Services, LLC et al. )
       Defendants                         )
                                          )

            JOINT STIPULATION OF DISMISSAL WITH PREJUDICE AS TO
                      DEFENDANT CREDIT ONE BANK, N.A.
        Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Ronald Chad

 Allen and Defendant Credit One Bank, N.A. hereby jointly request that this Court dismiss with

 prejudice Plaintiff’s claims against Defendant in the above-styled action. Except as otherwise

 agreed, the parties shall each bear their own costs, expenses, and attorney’s fees.



 HAVE SEEN AND APPROVED:

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